Case 1:12-cr-00209-TWP-TAB           Document 65        Filed 07/02/13       Page 1 of 3 PageID #:
                                            206



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                          )
                                                    )
                              Plaintiff,            )
                                                    )
                      v.                            ) Case No. 1:12-cr-00209-TWP-TAB
                                                    )
 JOSE COTA (01), and                                )
 OSCAR GUTIERREZ (02),                              )
                                                    )
                              Defendants.           )


                              ENTRY ON PENDING MOTIONS

       This matter is before the Court on various motions filed jointly by the Defendants Jose

Cota and Oscar Gutierrez. Defendants have filed a Joint Motion to Require Notice of Intention

to Use Other Crimes, Wrongs or Acts Evidence (Dkt. 47), Joint Motion for Issuance of

Subpoenas and Early Return Thereof (Dkt. 48), Joint Motion for Immediate Disclosure of

Favorable Evidence (Dkt. 50), Joint Motions for Discovery of Certain Items in the Government’s

Possession (Dkt. 52), and Joint Motion to Preserve Handwritten Notes of Government Agents

(Dkt. 54). For the most part, these motions are moot. The Government indicates it has

complied with the requests; however, because there is a continuing obligation regarding

disclosure of trial discovery, the Court will address each motion in turn.

A.     Joint Motion to Require Notice of Intention to Use Other Crimes, Wrongs or Acts
       Evidence (Dkt. 47)

       The Government states it does not intend to use evidence under Rules 404(b) or 608(b),

and should something change, it acknowledges its continuing obligation to give “reasonable

notice” under the Rules. Fed. R. Evid. 404(b), 608(b); Dkt. 61 at 1. The Motion is therefore

GRANTED.
Case 1:12-cr-00209-TWP-TAB          Document 65        Filed 07/02/13     Page 2 of 3 PageID #:
                                           207



B.     Joint Motion for Issuance of Subpoenas and Early Return Thereof (Dkt. 48)

       The Government opposes the motion for the issuance of subpoenas to the extent

Defendants seek to obtain discoverable documentary evidence in possession of the Government,

as the Government states it has complied and will continue to abide by its discovery

requirements set forth in the Court’s pretrial discovery orders. Dkts. 11, 12; Dkt. 61 at 1-2. The

Government does not object to the motion to the extent Defendants seek to direct subpoenas to

third-parties for production of evidence not in possession of the Government. Id. at 2. The

Defendants’ Joint Motion for Issuance of Subpoenas and Early Return Thereof (Dkt. 48) is

GRANTED.

C.     Joint Motions for Immediate Disclosure of Favorable Evidence (Dkt. 50) and for
       Discovery of Certain Items in the Government’s Possession (Dkt. 52)

       The Government opposes Defendants’ motions for Immediate Disclosure of Favorable

Evidence and Discovery of Certain Items in the Government’s Possession, noting that it has

already disclosed all evidence that might tend to exculpate either Defendant and disclosed all

documents, photographs and other physical evidence in its possession.           The Government

acknowledges its continuing obligations under the Federal Rules of Evidence and its discovery

obligations set forth in the Court’s pretrial discovery orders. Dkt. 61 at 2; Dkts. 11, 12. The

Defendants’ Joint Motions, Dkts. 50 and 52, are GRANTED.

D.     Joint Motion to Preserve Handwritten Notes of Government Agents (Dkt. 54)

       The Government does not object to the joint motion to preserve the agents’ handwritten

notes. Therefore, Defendants’ Joint Motion to Preserve Handwritten Notes of Government

Agents (Dkt. 54) is GRANTED.




                                                2
Case 1:12-cr-00209-TWP-TAB      Document 65    Filed 07/02/13   Page 3 of 3 PageID #:
                                       208



      SO ORDERED.

      07/02/2013
Date: ________
                                            ________________________
                                            Hon. Tanya Walton Pratt, Judge
                                            United States District Court
                                            Southern District of Indiana




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